Case 3:21-cv-00420-BJB-CHL Document 1 Filed 06/29/21 Page 1 of 9 PageID #: 1




                                                 3:21-cv-420-BJB

                                               Benjamin Beaton
Case 3:21-cv-00420-BJB-CHL Document 1 Filed 06/29/21 Page 2 of 9 PageID #: 2
Case 3:21-cv-00420-BJB-CHL Document 1 Filed 06/29/21 Page 3 of 9 PageID #: 3
Case 3:21-cv-00420-BJB-CHL Document 1 Filed 06/29/21 Page 4 of 9 PageID #: 4
Case 3:21-cv-00420-BJB-CHL Document 1 Filed 06/29/21 Page 5 of 9 PageID #: 5
Case 3:21-cv-00420-BJB-CHL Document 1 Filed 06/29/21 Page 6 of 9 PageID #: 6
Case 3:21-cv-00420-BJB-CHL Document 1 Filed 06/29/21 Page 7 of 9 PageID #: 7
Case 3:21-cv-00420-BJB-CHL Document 1 Filed 06/29/21 Page 8 of 9 PageID #: 8
Case 3:21-cv-00420-BJB-CHL Document 1 Filed 06/29/21 Page 9 of 9 PageID #: 9
